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                 13
                 14                        UNITED STATES DISTRICT COURT
                 15                       CENTRAL DISTRICT OF CALIFORNIA
                 16
                 17 CHRISTOPHER RASH, on behalf of               CASE NO. 5:21-cv-00998-JWH (SPx)
                    himself and all others similarly situated,
                 18                                              The Honorable John W. Holcomb
                                Plaintiff,
                 19                                              JOINT STIPULATION OF
                          v.                                     DISMISSAL UNDER FEDERAL
                 20                                              RULE OF CIVIL PROCEDURE
                    TELEBRANDS CORPORATION,                      41(a)(1)(A)(ii)
                 21
                                Defendant.
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    Mitchell     28
  Silberberg &
   Knupp LLP
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                  1         TO THE HONORABLE COURT, ALL PARTIES, AND COUNSEL OF
                  2 RECORD:
                  3         PLEASE TAKE NOTICE that, all parties to the above-entitled action,
                  4 through their respective counsel of record, stipulate and agree that Plaintiff
                  5 Christopher Rash dismisses this action in its entirety, with prejudice as to his
                  6 individual claims and without prejudice as to the putative class, pursuant to Federal
                  7 Rule of Civil Procedure 41(a)(1)(A)(ii). Except as otherwise agreed, all parties to
                  8 bear their own costs and attorneys’ fees.
                  9         Pursuant to the aforementioned statute, no Court order is required in
                 10 connection with this stipulation of dismissal.
                 11         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                 12
                 13 DATED: May 27, 2022                   By:        /s/ Michael F. Ram
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                 13 DATED: MAY 27, 2022                    VALENTINE A. SHALAMITSKI
                                                           MITCHELL SILBERBERG & KNUPP LLP
                 14
                 15
                                                           By: /s/ Valentine A. Shalamitski
                 16                                             Valentine A. Shalamitski
                                                                Attorneys for Defendant Telebrands Corp.
                 17
                 18
                 19                            Attestation Regarding Signatures
                 20         Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I, Valentine A. Shalamitski,
                 21 attest that all signatories listed, and on whose behalf the filing is submitted, concur
                 22 in the filing’s content and have authorized the filing.
                 23                                             /s/ Valentine A. Shalamitski
                 24                                              Valentine A. Shalamitski
                                                                 Attorneys for Defendant Telebrands Corp.
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